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                            UNITED STATES DISTRICT COURT
                                       For The
                             DISTRICT OF MASSACHUSETTS




                                                          CASE NO. 1:18-CV-11929-RGS




      CERTIFICATION OF JASON BRETT TORCHINSKY IN SUPPORT OF MOTION
           PURSUANT TO LOCAL RULE 83.5.3 FOR ADMISSION PRO HAC VICE

          I, Jason B. Torchinsky, affirm under penalty of perjury as follows:

          1.     I am counsel for Plaintiff Shiva Ayyadurai (“Plaintiff”) in the above captioned

action. I am familiar with the proceedings in this case. I make this statement based on my

personal knowledge of the facts set forth herein and in support of Plaintiff’s Motion for

Admission Pro Hac Vice of Attorney Jason B. Torchinsky to represent Plaintiff in this

matter.

          2.     I am a partner of Holtzman Vogel Josefiak Torchinsky, PLLC, 45 North Hill

Drive, Suite 100 Warrenton, VA 20186.

          3.     I am a member of good standing with the Virginia State Bar, the Bar of the

District of Columbia and admitted to practice before the U.S. Supreme Court, U.S. District
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Court for the District of Columbia, U.S. Court of Appeals for the Fourth Circuit, U.S. Court of

Appeals for the D.C. Circuit, U.S. District Court of the District of Colorado, U.S. District Court

for the Eastern District of Wisconsin, Supreme Court of Virginia, U.S. Court of Appeals for the

Ninth Circuit, U.S. Court of Appeals for the Second Circuit, U.S. District Court for the Eastern

District of Arkansas, U.S. District Court for the Eastern District of Michigan, U.S. Court of

Appeals for the Fifth Circuit, U.S. Court of Appeals for the Eighth Circuit, and the U.S. Court of

Appeals for the Sixth Circuit.

       4.      There have been no disciplinary proceedings or criminal charges instituted

against me in any jurisdiction.

       5.      I have not previously had a pro hac vice admission to this Court revoked for

misconduct.

       6.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.

       7.      I respectfully request that my application for pro hac vice admission to practice

before this Court be granted.




Dated: September 13, 2018



                                                           ____________________
                                                           Jason Brett Torchinsky




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